






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN







NO. 03-11-00867-CV

NO. 03-12-00078-CV






Wendy Rogers, Appellant


v.


State of Texas; Eduardo Espinosa, Receiver of Retirement Value, LLC; Donald R. Taylor,
Receiver of Hill Country Funding, LLC, a Texas Limited Liability Company;

and Hill Country Funding, LLC, a Nevada Limited Liability Company, Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 126TH JUDICIAL DISTRICT

NO. D-1-GV-10-000454, HONORABLE GISELA D. TRIANA-DOYAL, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



	Wendy Rogers has notified this Court that she no longer wishes to pursue these
appeals and has filed unopposed motions to dismiss them.  Rogers's counsel states that he has
conferred with counsel for the State of Texas, Retirement Value's receiver, Hill Country Funding's
receiver, and Michael McDermott, who do not oppose these motions.  We grant the motions and
dismiss the appeals.  See Tex. R. App. P. 42.1(a).


					__________________________________________

					Jeff Rose, Justice

Before Chief Justice Jones, Justices Rose and Goodwin

Dismissed on Appellant's Motions

Filed:   December 14, 2012


